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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

V.                                   4:07CR00317-03

BILLY DILDINE

                                           ORDER

       The government has filed a notification of death of defendant, docket # 688, and

Defendant’s counsel has filed a suggestion of death, docket # 631. Defendant Dildine was

sentenced to a 37 month sentence on October 29, 2008. Defendant passed away on August 8,

2009. Death having been suggested upon the record, the action is hereby dismissed as to the

deceased party.

       IT IS SO ORDERED this 29th day of October, 2009.




                                                    James M. Moody
                                                    United States District Judge
